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                                           Appendix 1


    Exhibit Proposed redactions
      25     •   the FBI code name of an unrelated investigation, ¶ 27
             •   the names of three witnesses, ¶ 28, 29, 35, 37, including the name of a witness
                 this letter describes as having provided a recording to the Government, ¶ 29
             •   Grand Jury activity involving a witness, ¶ 37
      27     •   names of witnesses whose electronic devices were searched by the Government,
                 ¶5
             •   name of a witness who provided documents to the Government, ¶ 11rr
      29     •   name of a private searcher hired by the defense, whose name prior counsel for
                 the defendant has asked remain sealed from the public, ¶ 22a
             •   name of a witness which the letter indicates produced electronic devices to the
                 government, ¶ 22f
             •   name of a witness who provided documents to the Government and who is on a
                 recording, ¶ 22i
             •   name of a witness, which the letter indicates had text-message communications
                 with the Government ¶ 22k
             •   name of a witness who produced documents to the Government,
                 ¶ 22m
             •   names of witnesses who provided documents to the Government,
                 ¶ 22n
             •   names of witnesses about whom the Government sought toll records, ¶ 22o
             •   name of witness who provided documents to the Government, ¶ 22u
             •   name of witness who provided documents to the Government, ¶ 22dd
             •   name of witness interviewed, ¶ 22ff
             •   name of witness interviewed, ¶ 22gg
